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11

12                              UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA

14                                 SAN FRANCISCO DIVISION

15   REALPAGE, INC.,                             Case No. 3:25-cv-03004-JSC
16               Plaintiff,                      DECLARATION OF FARIMAH F.
                                                 BROWN IN SUPPORT OF
17         v.                                    DEFENDANTS’ RESPONSE TO
                                                 PLAINTIFF’S SUPPLEMENTAL
18   THE CITY OF BERKELEY, CALIFORNIA,           DECLARATION
     and PAUL BUDDENHAGEN, CITY
19   MANAGER OF BERKELEY,                        Date:       April 16, 2025
     CALIFORNIA, in his official capacity,       Time:       11:00 a.m.
20                                               Dept.:      8—19th Floor (via Zoom)
                 Defendants.                     Judge:      Hon. Jacqueline Scott Corley
21
                                                 Date Filed: April 2, 2025
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                                                 Trial Date: Not Set
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      FARIMAH F. BROWN DECL. ISO DEFENDANTS’ RESPONSE TO PLAINTIFF’S SUPPLEMENTAL DECL.
                                     Case No. 3:25-cv-03004-JSC
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 1

 2                            DECLARATION OF FARIMAH F. BROWN

 3          I, Farimah F. Brown, declare as follows:

 4          1.      I serve as the City Attorney for the City of Berkeley (“City”) and am a member in

 5   good standing of the bar of this Court. I am over the age of eighteen years old, am competent to

 6   testify, and have personal knowledge of the facts and matters contained in this declaration.

 7          2.      On March 25, 2025, the City of Berkeley enacted Berkeley Municipal Code

 8   § 13.63, et seq. (“the Ordinance”). The Ordinance proscribes algorithmic price coordination

 9   among competing landlords. Pursuant to the Berkeley Charter and Berkeley Municipal Code, the

10   Ordinance is set to go into effect on April 24, 2025.

11          3.      Section A of the Ordinance makes it “unlawful to sell, license, or otherwise

12   provide to city of Berkeley landlords any coordinating pricing algorithm that sets, recommends,

13   or advises on rents or occupancy levels that may be achieved for residential dwelling units in the

14   city of Berkeley.” See Berkeley Municipal Code § 13.63.030A. The Ordinance gives sole

15   enforcement of Section A to the City Attorney. See id. § 13.63.040A.

16          4.      On April 2, 2025, plaintiff RealPage, Inc. initiated this lawsuit. On April 3, 2025,

17   RealPage filed a motion for temporary restraining order seeking to enjoin the Ordinance before its

18   April 24, 2025 effective date.

19          5.      On April 16, 2025, the Court held a hearing on RealPage’s motion for a temporary

20   restraining order. At this hearing, RealPage represented for the first time that it had changed its

21   software. After the hearing, the City requested that RealPage furnish a demonstration of its

22   revenue management software offered to customers in the City of Berkeley, during which the

23   City would have the opportunity to ask questions. RealPage declined to furnish a demonstration

24   in advance of the City’s deadline to respond to RealPage’s supplemental declaration.

25          6.      The City Attorney’s Office will not enforce the Ordinance against RealPage for

26   sixty days from the Ordinance’s effective date until June 23, 2025, or, if RealPage files a motion

27   for preliminary injunction before that date, until the Court resolves that motion.

28          I declare under penalty of perjury under the laws of the United States of America that the

                                                  1
      FARIMAH F. BROWN DECL. ISO DEFENDANTS’ RESPONSE TO PLAINTIFF’S SUPPLEMENTAL DECL.
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 1   foregoing is true and correct, and that this declaration was executed on April 22, 2025, at

 2   Berkeley, California.

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 4                                                    FARIMAH F. BROWN
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      FARIMAH F. BROWN DECL. ISO DEFENDANTS’ RESPONSE TO PLAINTIFF’S SUPPLEMENTAL DECL.
                                     Case No. 3:25-cv-03004-JSC
